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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION

 DONALD OTIS WILLIAMS,

        Petitioner,

 v.                                                         Case No: 5:16-cv-357-WFJ-PRL

 SECRETARY, DEPARTMENT OF
 CORRECTIONS and FLORIDA
 ATTORNEY GENERAL,

        Respondents.


                                            ORDER

        Pending before the Court is the motion seeking to substitute counsel, filed on April 15,

 2025. (Doc. 24). Respondent seeks to substitute Rebecca Rock McGuigan, as counsel of

 record in place of Douglas Squire, will no longer be affiliated with Florida Attorney General,

 Secretary, Department of Corrections as of April 30, 2025.

        Accordingly, it is ORDERED:

        1.     Respondent’s motion seeking to substitute counsel (Doc. 24) is GRANTED.

        2.     The Clerk of Court is directed to remove Douglas Squire and to add Rebecca

 Rock McGuigan as counsel of record for Respondent.

        IT IS SO ORDERED.

        DONE AND ORDERED at Ocala, Florida, this 24th day of April 2025.




 Copies to: Pro Se Parties, Counsel of Record
